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6                         UNITED STATES DISTRICT COURT
7                        EASTERN DISTRICT OF CALIFORNIA
8
9    UNITED STATES,                        No. 2:09-cr-00244-MCE
10             Plaintiff,
11        v.                               ORDER REGARDING SENTENCING
                                           MEMORANDA
12   ANTONIO RAMIREZ-SANCHEZ and
     JORGE CORONA-RAMIREZ,
13
               Defendants.
14   ____________________________/
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          If any party wishes to file a sentencing memorandum in
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     advance of imposition of judgment and sentencing, said
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     memorandum shall be filed on or before 5:00 p.m., seven (7)
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     calendar days in advance of the date set for judgment and
19
     sentencing.      Any response thereto shall be filed on or
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     before 3:00 p.m., (3) calendar days in advance of the date
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     set for judgment and sentencing.         The parties are cautioned
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     that if any sentencing memoranda is filed late, the judgment
23
     and sentencing date may be vacated and the matter continued.
24
          IT IS SO ORDERED.
25
     Dated: September 7, 2010
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                                      _____________________________
28                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
